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                  EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA


 DEEP SOUTH TODAY,et al,

                                        Plaintiffs,

 V.                                                   Civil Action No. 3:24-cv-623


 ELIZABETH B. MURRILL, et al.                         Judge:JWD-SDJ

                                    Defendants.


                                 Declatation of Hillar C. Moote,III

        Pursuant to 28 U.S.C. § 1746, I, Hillar C. Moore, III, duly affirm under penalty of perjury as

follows:


        1.       I am over the age of 18, have personal knowledge of the matters set forth herein, and

am competent to make this Declaration.

        2.       My name is Hillar C. Moore, III. I am the District Attorney in East Baton Rouge

Parish, Nineteenth Judicial District.

        3.       My professional experience in the legal system includes 12 years working as an

investigator for the East Baton Rouge District Attorney's Office, 16 years in private practice with a

specialization in criminal defense, and 16 years serving as the elected District Attorney in the

Nineteenth Judicial District.

        4.       In my current role, I lead an office of approximately 160 employees, including 65

assistant district attorneys.

        5.      The East Baton Rouge District Attorney represents the State of Louisiana in all

criminal cases within East Baton Rouge Parish. The District Attorney's Office oversees a host of

responsibilities, including the decision of whether to prosecute, which charges to file, and whether to
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offer a plea agreement. Equally important, the office partners with local organizations to support

victims and families of crime, violence, and sexual assault.

        6.      The East Baton Rouge District Attorney's Office has an overwhelming number of

pending criminal cases. As of October 7,2024,the office currendy has 4,258 pending felony cases and

11,741 pending misdemeanor cases. Our office places an emphasis on resolving pending felony

matters before addressing misdemeanors, due to the relative severity of the crimes.

        7.      I have reviewed House BiU 173, codified at La. R.S. § 14:109 ("Act 259"), and I am

familiar with its contents.


        8.        As of the date of the signing of this declaration, the East Baton Rouge District

Attorney's Office has not prosecuted a case arising out of a violation bf Act 259 since the Act was

signed into law on August 1, 2024.

        9.      The East Baton Rouge District Attorney's Office has not instituted any policies or

protocols related to the prosecution or administration of cases arising out of Act 259.

        10.     The East Baton Rouge District Attorney's Office has not engaged in any conversations

with the East Baton Rouge Police Department, the East Baton Rouge Sheriffs Office, or the

Louisiana State Police regarding the enforcement ofAct 259. These law enforcement agencies conduct

their own investigations independent of my office. If an arrest is made, the matter is then referred to

my office for prosecutorial review.

        11.       Candidly, given the very high number of pending felony cases in East Baton Rouge

Parish, it is unlikely that our office would prioritize prosecuting a misdemeanor such as one arising

out of Act 259.
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I declare under penalty of perjury under the laws of the United States of America and the State of

Louisiana that the foregoing is true and correct.



Executed in Baton Rouge,Louisiana, this 14th day of October,2024



                                                     liilar C. Moore, III
